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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

BANK OF NEW YORK MELLON

Vv. Case: 2:15-cy-0500-MCA-MAH

ANDREW J. WITTY and SHERYL WITTY

ORDER
THIS MATTER having come before the court on Plaintiffs Notice of Motion for
the entry of Final Judgment, and the court having considered the supporting Certification and

Exhibit submitted in support thereof,’ and any opposition filed by Defendants, and good cause

having been shown: - .
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IT IS on this /Sday of a) , 2024 ORDERED AND ADJUDGED that

Plaintiff is entitled to have the sum‘of $2,663,719.67 together with lawful interest thereon
together with costs of this action to be taxed together with a counsel fee of $2016.83 raised and

paid out of the mortgaged premises described in the Complaint;

AND, it is further ORDERED and ADJUDGED that the mortgaged premises designated
as 496 White Oak Ridge Road, Short Hills, New Jersey 07078 be sold to raise and satisfy the
amount due to Plaintiff and that an execution issue for that purpose to the United States Magistrate
with the command to make sale of such mortgaged premises and out of the monies arising from
sale pay the Plaintiffs debt, with interest thereon and costs as aforesaid, to the Plaintiff or its
attorney, and that in case there is a surplus remaining after the sale that such surplus be brought
into court to abide further order of this court, and that the Magistrate make a report of the sale as

required by New Jersey law;

' Defendant’s opposition has largely consisted of requests for stays. By letter Opinion Dated January 25, 2024, Judge
Hammer denied PlaintifPs Motion for a Stay without prejudice for failure to demonstrate that a loss mitigation
application had been filed, pursuant to 12 CFR 1024.41(g). Thereafter, Plaintiff filed a “Revised and Augmented
Notice of and Motion for Enforcement of Mandatory Stay...” (D.E. 123), which Judge Hammer treated as a motion for
reconsideration and denied by Order dated April 14, 2024, noting that “[dJefendant has not demonstrated that a
complete loss mitigation application was submitted or received....” D,E, 127, n.4. This Court agrees defendant has not
demonstrated an entitlement to a stay and that these applications appear to be filed for the purpose of delay.

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AND it is further ORDERED that all defendants to this action stand absolutely debarred

and foreclosed of and from all equity of redemption of, in and to the said mortgaged premises as
shall be sold by virtue of this judgment except as provided by 28 U.S.C. Section 2410;

AND it is further ORDERED that Plaintiff or any purchaser under the foreclosure sale
duly recovered against Defendants and all parties holding by, or claiming under them or any of
them, possession of the mortgaged premises mentioned and described in the Complaint with the

appurtenances, and that a Writ of Possession issue thereon;

This judgment shall not affect the rights of any person protected by the New Jersey Tenant

Anti-Eviction Act, N.J,S. 2A:18-61 et seq.

HON, MADELINE COX ARLEO,
USD.

